





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(1), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
        The State, Respondent,
      
    
  

v.

  
    
      
        Markeith Dwayne McQueen, Appellant.
      
    
  


Appeal From Pickens County
John C. Few, Circuit Court Judge

Unpublished Opinion No.&nbsp; 2004-UP-594
Submitted November 1, 2004  Filed November 29, 2004

APPEAL DISMISSED


  
    
      
        Assistant Appellate Defender Eleanor Duffy Cleary, of Columbia, for Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Robert M. Ariail, of Greenville, for Respondent.
      
    
  

PER CURIAM:&nbsp; Markeith Dwayne McQueen appeals his guilty pleas to armed robbery and assault and battery with intent to kill arguing the trial judge failed to adequately advise him of his constitutional rights in violation of Boykin v. Alabama, 395 U.S. 238 (1969).&nbsp; McQueens counsel attached to the final brief a petition to be relieved as counsel, stating she had reviewed the record and concluded this appeal lacks merit.&nbsp; After a thorough review of the record and counsels brief pursuant to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss[1] the appeal and grant counsels petition to be relieved.
APPEAL DISMISSED.
HEARN, C.J., GOOLSBY and WILLIAMS, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

